Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 1
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 1
                                                                        FILED
                                                            United States Court of Appeals
                                   PUBLISH                          Tenth Circuit

                        UNITED STATES COURT OF APPEALS                 March 22, 2016

                                                                  Elisabeth A. Shumaker
                               FOR THE TENTH CIRCUIT                  Clerk of Court
                           _________________________________

  COLORADO OUTFITTERS
  ASSOCIATION; COLORADO FARM
  BUREAU; NATIONAL SHOOTING
  SPORTS FOUNDATION; MAGPUL
  INDUSTRIES; COLORADO YOUTH
  OUTDOORS; USA LIBERTY ARMS;
  OUTDOOR BUDDIES, INC.; WOMEN
  FOR CONCEALED CARRY;
  COLORADO STATE SHOOTING
  ASSOCIATION; HAMILTON FAMILY
  ENTERPRISES, INC., d/b/a Family
  Shooting Center at Cherry Creek State
  Park; DAVID BAYNE; DYLAN
  HARRELL; ROCKY MOUNTAIN
  SHOOTERS SUPPLY; 2ND
  AMENDMENT GUNSMITH &
  SHOOTER SUPPLY, LLC; BURRUD
  ARMS INC., d/b/a Jensen Arms; GREEN
  MOUNTAIN GUNS; JERRY’S
  OUTDOOR SPORTS; SPECIALTY
  SPORTS & SUPPLY; GOODS FOR THE
  WOODS,

        Plaintiffs - Appellants,

  v.                                                     No. 14-1290

  JOHN W. HICKENLOOPER, Governor of
  the State of Colorado,

        Defendant - Appellee.

  –––––––––––––––––––––––––––––––––––
  JIM BEICKER, Sheriff of Fremont
  County; RICK BESECKER, Sheriff of
  Gunnison County; RONALD BRUCE,
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 2
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 2



  Sheriff of Hinsdale County; DAVID D.
  CAMPBELL, Sheriff of Baca County;
  JAMES (JIM) CASIAS, Sheriff of Las
  Animas County; MILES CLARK; JOHN
  B. COOKE; JAMES CRONE, Sheriff of
  Morgan County; DOUGLAS N. DARR;
  CHAD DAY, Sheriff of Yuma County;
  RICK DUNLAP, Sheriff of Montrose
  County; DAVID ENCINIAS, Sheriff of
  Bent County; MIKE ENSMINGER, Sheriff
  of Teller County; JAMES FAULL; ROD
  FENSKE, Sheriff of Lake County; SCOTT
  FISCHER, Sheriff of Jackson County;
  FORREST FRAZEE; PETER
  GONZALEZ; BRUCE W. HARTMAN,
  Sheriff of Gilpin County; SHAYNE
  HEAP, Sheriff of Elbert County; FRED
  HOSSELKUS, Sheriff of Mineral County;
  TIM JANTZ; FRED JOBE; CHRIS S.
  JOHNSON; RODNEY JOHNSON;
  DONALD KRUEGER; LARRY KUNTZ;
  SUE KURTZ; TERRY MAKETA; JERRY
  MARTIN, Sheriff of Dolores County;
  DOMINIC MATTIVI, JR., Sheriff of
  Ouray County; FRED D. MCKEE, Sheriff
  of Delta County; AMOS MEDINA, Sheriff
  of Costilla County; TED B. MINK; JOHN
  MINOR, Sheriff of Summit County; TOM
  NESTOR, Sheriff of Lincoln County;
  BRUCE NEWMAN, Sheriff of Huerfano
  County; MIKE NORRIS; BRIAN E.
  NORTON, Sheriff of Rio Grande County;
  RANDY PECK; BRETT L. POWELL,
  Sheriff of Logan County; KEN PUTNAM;
  TOM RIDNOUR, Sheriff of Kit Carson
  County; GRAYSON ROBINSON; DUKE
  SCHIRARD; JUSTIN SMITH, Sheriff of
  Larimer County; DENNIS SPRUELL;
  DAVE STONG; CHARLES "ROB"
  URBACH, Sheriff of Phillips County;
  LOU VALLARIO, Sheriff of Garfield
  County; DAVID A. WEAVER; FRED
  WEGENER, Sheriff of Park County;

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Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 3
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 3



  GARRETT WIGGINS, Sheriff of Routt
  County; SI WOODRUFF; DAVID
  STRUMILLO; JOHN “SMOKEY”
  KURTZ, Sheriff of Crowley County;
  STEVE REAMS, Sheriff of Weld County;
  MICHAEL T. MCINTOSH, Sheriff of
  Adams County; SAM ZORDEL, Sheriff of
  Prowers County; CASEY SHERIDAN,
  Sheriff of Kiowa County; RICHARD
  VALDEZ, Sheriff of Archuleta County;
  K. C. HUME, Sheriff of Moffat County;
  SHANNON KEITH BYERLY, Sheriff of
  Custer County; SHAWN MOBLEY,
  Sheriff of Otero County; BRETT
  SCHROETLIN, Sheriff of Grand County;
  RICHARD A. ALBERS, Sheriff of Clear
  Creek County; JON STIVERS, Sheriff of
  Washington County; BRUCE CONRAD,
  Sheriff of San Juan County; BILL ELDER,
  Sheriff of El Paso County; JEFF
  SHRADER, Sheriff of Jefferson County;
  DAN WARWICK, Sheriff of Saguache
  County; THOMAS JAMES HANNA,
  Sheriff of Sedgwick County; GABRIEL
  DAVID JOINER, Sheriff of Cheyenne
  County; DAVID C. WALCHER, Sheriff of
  Arapahoe County; SEAN MICHAEL
  SMITH, Sheriff of La Plata County;
  STEVE NOWLIN, Sheriff of Montezuma
  County; ROBERT JACKSON, Sheriff of
  Alamosa County; TONY SPURLOCK,
  Sheriff of Douglas County; ANTHONY
  MAZZOLA, Sheriff of Rio Blanco County,

       Plaintiffs - Appellants,

  v.                                                 No. 14-1292

  JOHN W. HICKENLOOPER, Governor of
  the State of Colorado,

       Defendant - Appellee.


                                            3
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 4
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 4



                          __________________________________

                       Appeal from the United States District Court
                               for the District of Colorado
                         (D.C. No. 1:13-CV-01300-MSK-MJW)
                         _________________________________

  Richard A. Westfall, Hale Westfall, LLP, Denver, Colorado (Peter J. Krumholz, Hale
  Westfall, LLP, Denver, Colorado, Marc F. Colin, Bruno Colin & Lowe PC, Denver,
  Colorado, Anthony J. Fabian, Law Offices of Anthony J. Fabian PC, Castle Rock,
  Colorado, and Douglas Abbott, Holland & Hart LLP, Denver, Colorado, with him on the
  briefs), for Plaintiffs-Appellants Nonprofit Organizations, Disabled Firearms Owners,
  Firearms Manufacturers and Dealers, David Bayne, Colorado Farm Bureau, Colorado
  Outfitters Association, Outdoor Buddies, Inc., Women for Concealed Carry, and Dylan
  Harrell.

  David B. Kopel, Independence Institute, Denver, Colorado, for Plaintiffs-Appellants
  Sheriffs and David Strumillo.

  Matthew D. Grove, Assistant Solicitor General (Cynthia H. Coffman, Attorney General,
  Kathleen L. Spalding and Stephanie L. Scoville, Senior Assistant Attorneys General, and
  LeeAnn Morrill, First Assistant Attorney General), Colorado Department of Law,
  Denver, Colorado, for Defendant-Appellee John W. Hickenlooper.1
                         _________________________________

  Before HOLMES, McHUGH, and MORITZ, Circuit Judges.
                    _________________________________

  MORITZ, Circuit Judge.
                      _________________________________

         The underlying issues in these appeals are significant and concern the extent to

  which the Second Amendment limits Colorado’s power to regulate firearms and large-

  capacity magazines. But preliminarily, we first grapple with a more fundamental

  question: the extent to which Article III of the United States Constitution limits our

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         The names of all amici curiae and the attorneys representing them are contained
  in Appendix A to this Opinion.


                                               4
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 5
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 5



  power—and the district court’s power—to hear the plaintiffs’2 claims at all. Because we


         2
           In this decision, we refer to all plaintiffs as “the plaintiffs.” However, the case
  involves two groups of plaintiffs, and we occasionally refer to the first group as the
  “Plaintiff-Nonprofits” and the second group as “the Plaintiff-Sheriffs.” The first group
  includes Colorado Outfitters Association; Colorado Farm Bureau; National Shooting
  Sports Foundation; Magpul Industries; Colorado Youth Outdoors; USA Liberty Arms;
  Outdoor Buddies, Inc.; Women for Concealed Carry; Colorado State Shooting
  Association; Hamilton Family Enterprises, Inc., d/b/a Family Shooting Center at Cherry
  Creek State Park; David Bayne, Dylan Harrell; Rocky Mountain Shooters Supply; 2nd
  Amendment Gunsmith & Shooter Supply, LLC; Burrud Arms Inc., d/b/a Jensen Arms;
  Green Mountain Guns; Jerry’s Outdoor Sports; Specialty Sports & Supply; and Goods for
  the Woods. The second group of plaintiffs includes Jim Beicker, Sheriff of Fremont
  County; Rick Besecker, Sheriff of Gunnison County; Ronald Bruce, Sheriff of Hinsdale
  County; David D. Campbell, Sheriff of Baca County; James (Jim) Casias, Sheriff of Las
  Animas County; Miles Clark; John B. Cooke; James Crone, Sheriff of Morgan County;
  Douglas N. Darr; Chad Day, Sheriff of Yuma County; Rick Dunlap, Sheriff of Montrose
  County; David Encinias, Sheriff of Bent County; Mike Ensminger, Sheriff of Teller
  County; James Faull; Rod Fenske, Sheriff of Lake County; Scott Fischer, Sheriff of
  Jackson County; Forrest Frazzee; Peter Gonzalez; Bruce W. Hartman, Sheriff of Gilpin
  County; Shayne Heap, Sheriff of Elbert County; Fred Hosselkus, Sheriff of Mineral
  County; Tim Jantz; Fred Jobe; Chris S. Johnson; Rodney Johnson; Donald Krueger;
  Larry Kuntz; Sue Kurtz; Terry Maketa; Jerry Martin, Sheriff of Dolores County; Dominic
  Mattivi, Jr., Sheriff of Ouray County; Fred D. McKee, Sheriff of Delta County; Amos
  Medina, Sheriff of Costilla County; Ted B. Mink; John Minor, Sheriff of Summit
  County; Tom Nestor, Sheriff of Lincoln County; Bruce Newman, Sheriff of Huerfano
  County; Mike Norris; Brian E. Norton, Sheriff of Rio Grande County; Randy Peck; Brett
  L. Powell, Sheriff of Logan County; Ken Putnam; Tom Ridnour, Sheriff of Kit Carson
  County; Grayson Robinson; Duke Schirard; Justin Smith, Sheriff of Larimer County;
  Dennis Spruell; Dave Stong; Charles “Rob” Urbach, Sheriff of Phillips County; Lou
  Vallario, Sheriff of Garfield County; David A. Weaver; Fred Wegener, Sheriff of Park
  County; Garrett Wiggins, Sheriff of Routt County; Si Woodruff; David Strumillo; John
  “Smoky” Kurtz, Sheriff of Crowley County; Steve Reams, Sheriff of Weld County;
  Michael T. McIntosh, Sheriff of Adams County; Sam Zordel, Sheriff of Prowers County;
  Casey Sheridan, Sheriff of Kiowa County; Richard Valdez, Sheriff of Archuleta County;
  K.C. Hume, Sheriff of Moffat County; Shannon Keith Byerly, Sheriff of Custer County;
  Shawn Mobley, Sheriff of Otero County; Brett Schroetlin, Sheriff of Grand County;
  Richard A. Albers, Sheriff of Clear Creek County; Jon Stivers, Sheriff of Washington
  County; Bruce Conrad, Sheriff of San Juan County; Bill Elder, Sheriff of El Paso County;
  Jeff Shrader, Sheriff of Jefferson County; DanWarwick, Sheriff of Saguache County;
  Thomas James Hanna, Sheriff of Sedgwick County; Gabriel David Joiner, Sheriff of

                                               5
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 6
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 6



  conclude the plaintiffs failed to establish Article III standing to bring any of their claims,

  we vacate the district court’s order granting judgment for the defendant3 and remand with

  directions to dismiss the action for lack of jurisdiction.

                                         BACKGROUND

         Colo. Rev. Stat. § 18-12-112 and Colo. Rev. Stat. § 18-12-302 became effective

  on July 1, 2013. With some exceptions, § 18-12-112 requires background checks for

  private firearm transfers that exceed 72 hours, while § 18-12-302 generally prohibits the

  possession, sale, and transfer of large-capacity magazines (LCMs),4 again with some

  exceptions. In particular, § 18-12-302(3)(b)(II) exempts from the LCM ban those state

  and federal employees who carry firearms in the course of their official duties, while

  § 18-12-302(2)(a)’s grandfather clause allows individuals to possess LCMs they owned

  as of July 1, 2013, as long as they maintain continuous possession of the LCMs

  thereafter.

         Several organizations, individuals, and businesses brought suit against Colorado’s

  governor, John Hickenlooper, arguing the statutes violate the Second Amendment, the


  Cheyenne County; David C. Walcher, Sheriff of Arapahoe County; Sean Michael Smith,
  Sheriff of La Plata County; Steve Nowlin, Sheriff of Montezuma County; Robert
  Jackson, Sheriff of Alamosa County; Tony Spurlock, Sheriff of Douglas County; and
  Anthony Mazzola, Sheriff of Rio Blanco County.
         3
             The single defendant in this case is John Hickenlooper, Colorado’s governor.
         4
           Colo. Rev. Stat. § 18-12-301(2)(a)(I) generally defines large capacity magazines
  as those “capable of accepting, or . . . designed to be readily converted to accept, more
  than fifteen rounds of ammunition.”



                                                 6
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 7
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 7



  Fourteenth Amendment, and the Americans with Disabilities Act (ADA). But it was clear

  from this litigation’s inception that the plaintiffs’ standing to assert these claims was less

  than assured; the parties litigated the issue at every turn. As the result of one of these

  bouts of jurisdictional wrangling, the district court concluded several Colorado sheriffs

  lacked standing to bring their claims and dismissed them from the case.

         After a nine-day bench trial, the district court expressed skepticism that any of the

  remaining plaintiffs had established standing to challenge § 18-12-112 and § 18-12-302.

  Nevertheless, “with the benefit of some generous assumptions,” it found that at least one

  plaintiff had standing to challenge each statute. App. at 1762. After winning the

  jurisdictional battle, however, the plaintiffs ultimately lost the war; the district court

  entered judgment in favor of the defendant on all claims.

         The plaintiffs appeal, arguing the district court made both procedural and

  substantive errors in rejecting their claims. They insist the district court erred in, among

  other things, applying the incorrect level of scrutiny to the plaintiffs’ Second Amendment

  claims; concluding the statutes survive intermediate scrutiny; ruling that § 18-12-302

  isn’t unconstitutionally vague; dismissing the plaintiffs’ ADA claims; considering

  information that isn’t part of the legislative record; and failing to provide any analysis to

  support certain evidentiary rulings. The defendant disagrees, maintaining we should

  affirm the district court’s judgment in all respects.

                                           DISCUSSION

         Under Article III of the United States Constitution, federal courts only have

  jurisdiction to hear certain “‘Cases’ and ‘Controversies.’” Susan B. Anthony List v.

                                                 7
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 8
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 8



  Driehaus, 134 S. Ct. 2334, 2341 (2014) (quoting U.S. Const. art. III, § 2). To satisfy

  Article III’s case-or-controversy requirement, a plaintiff must demonstrate standing to

  sue by establishing “(1) an ‘injury in fact,’ (2) a sufficient ‘causal connection between the

  injury and the conduct complained of,’ and (3) a ‘likel[ihood]’ that the injury ‘will be

  redressed by a favorable decision.’” Id. at 2341 (quoting Lujan v. Defenders of Wildlife,

  504 U.S. 555, 560-61 (1992)).

         Here, the district court expressed “profound reservations as to whether” any of the

  plaintiffs established standing to challenge § 18-12-112. App. at 1768. Nevertheless, “in

  the interests of providing a complete ruling,” the district court “assume[d]” that three

  plaintiffs had done so. Id. Likewise, “in an attempt to find standing” and “with the benefit

  of some generous assumptions,” the district court concluded that one plaintiff had

  standing to challenge § 18-12-302. Id. at 1761-62 and 1762 n.11.

         But a federal court can’t “assume” a plaintiff has demonstrated Article III standing

  in order to proceed to the merits of the underlying claim, regardless of the claim’s

  significance. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998)

  (explaining that “such an approach . . . carries the courts beyond the bounds of authorized

  judicial action and thus offends fundamental principles of separation of powers”).5 Thus,


         5
           While we appreciate the district court’s effort to provide us with a “complete
  ruling,” App. at 1768, a ruling that assumes the plaintiffs’ standing—and by extension
  assumes the district court’s jurisdiction—is necessarily incomplete. In fact, if the district
  court’s assumptions were wrong, that “complete” ruling is no ruling at all. See
  Cunningham v. BHP Petrol. Gr. Brit. PLC, 427 F.3d 1238, 1245 (10th Cir. 2005)
  (explaining that a judgment entered without jurisdiction is void).


                                                8
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 9
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 9



  our first task is to determine whether the district court’s assumptions about standing were

  correct.6 If not, we may go no further. See id. at 110 (vacating judgment and remanding

  to district court with directions to dismiss complaint because respondent lacked standing

  to maintain suit).

         Before we begin this task, we note certain procedural ground rules. First, we have

  jurisdiction to determine the district court’s jurisdiction. See id. at 95 (explaining that

  when a lower federal court lacks jurisdiction, a reviewing court nevertheless has

  jurisdiction to “correct[] the error of the lower court in entertaining the suit” in the first

  instance (quoting United States v. Corrick, 298 U.S. 435, 440 (1936))). Second, the

  plaintiffs bear the burden of establishing standing. Raines v. Byrd, 521 U.S. 811, 818

  (1997). Third, we review questions of standing de novo. Wyoming ex rel. Crank v. United


         6
           Despite the threshold nature of the standing inquiry, the plaintiffs don’t address it
  until late in their briefs—a puzzling strategy given the district court’s express skepticism
  and the extent to which the parties litigated the standing issue below. Plaintiff-Sheriffs
  don’t address standing until page 55 of their 73-page opening brief. Even then, they
  address only whether the political subdivision doctrine barred their claims, not whether
  the district court correctly concluded that all but 11 of the sheriffs failed to establish the
  requisite injury for purposes of standing. Likewise, Plaintiff-Nonprofits address standing
  on pages 45-48 and 51-53 of their 63-page brief. Even then, they never explicitly
  challenge the standing test the district court adopted and applied, nor explain how any of
  the plaintiffs satisfied that test. The defendant at least briefly disputes the plaintiffs’
  standing to challenge § 18-12-112 before proceeding to address the merits of that
  challenge. Yet he mostly insists we don’t need to address the standing issue at all because
  the district court found that at least one plaintiff had standing to challenge each statute.
  Nevertheless, the parties’ failure to adequately address the standing question doesn’t
  absolve us of our duty to do so. See Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114,
  1126 (10th Cir. 2013) (“[W]henever standing is unclear, we must consider it sua sponte
  to ensure there is an Article III case or controversy before us.”), aff’d sub nom. Burwell v.
  Hobby Lobby Stores, Inc., 134 S. Ct. 2751 (2014).


                                                 9
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 10
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 10



   States, 539 F.3d 1236, 1241 (10th Cir. 2008). Fourth, the elements of standing “are not

   mere pleading requirements but rather an indispensable part of the plaintiff’s case.”

   Lujan, 504 U.S. at 561. Thus, “each element must be supported in the same way as any

   other matter on which the plaintiff bears the burden of proof, i.e., with the manner and

   degree of evidence required at the successive stages of the litigation.” Id. Because this

   case proceeded to trial, we therefore look to the evidence presented there to determine

   whether the plaintiffs carried their burden of proving standing. See Glover River Org. v.

   U.S. Dep’t of Interior, 675 F.2d 251, 254 n.3 (10th Cir. 1982) (explaining that when a

   case proceeds to trial, “standing is evaluated not on the pleadings alone but on the basis

   of all the evidence in the record”).

          Finally, while it’s hornbook law that the “lack of federal jurisdiction cannot be

   waived or be overcome by an agreement of the parties,” Wellness Int’l Network, Ltd. v.

   Sharif, 135 S. Ct. 1932, 1956 (2015) (quoting Mitchell v. Maurer, 293 U.S. 237, 244

   (1934)), “[o]ur duty to consider unargued obstacles to subject matter jurisdiction does not

   affect our discretion to decline to consider waived arguments that might have supported

   such jurisdiction,” United States. ex rel. Ramseyer v. Century Healthcare Corp., 90 F.3d

   1514, 1518 n.2 (10th Cir. 1996). Thus, we consider only those arguments in favor of

   standing that the plaintiffs have adequately briefed. See Raley v. Hyundai Motor Co., 642

   F.3d 1271, 1275 (10th Cir. 2011) (“It is the appellant’s burden, not ours, to conjure up

   possible theories to invoke our legal authority to hear her appeal.”); Adler v. Wal-Mart

   Stores, Inc., 144 F.3d 664, 679 (10th Cir. 1998) (explaining inadequately briefed

   arguments are waived).

                                                10
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 11
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 11



   I.     The plaintiffs have waived any argument that the district court erred in
          adopting the credible-threat-of-prosecution test.

          As discussed above, standing generally has three requirements: (1) an injury in

   fact; (2) causation; and (3) redressability. Lujan, 504 U.S. at 560-61. To satisfy the first

   of these three elements, a plaintiff must offer something more than the hypothetical

   possibility of injury. The alleged injury must be concrete, particularized, and actual or

   imminent. Id. at 560. And while “‘imminence’ is concededly a somewhat elastic concept,

   it cannot be stretched beyond its purpose, which is to ensure that the alleged injury is not

   too speculative for Article III purposes—that the injury is ‘certainly impending.’” Id. at

   564 n.2 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).

          To establish such an injury in the context of a pre-enforcement challenge to a

   criminal statute,7 a plaintiff must typically demonstrate (1) “an intention to engage in a

   course of conduct arguably affected with a constitutional interest, but proscribed by [the

   challenged] statute,” and (2) that “there exists a credible threat of prosecution

   thereunder.” Susan B. Anthony List, 134 S. Ct. at 2342 (quoting Babbitt v. United Farm

   Workers Nat’l Union, 442 U.S. 289, 298 (1979)). The district court repeatedly explained

   it would adopt and apply this two-part test for purposes of the plaintiffs’ claims.

          The plaintiffs do not directly challenge this ruling on appeal. True, they assert in

          7
             At oral argument, the plaintiffs pointed out that § 18-12-112 imposes civil
   liability as well as criminal penalties. But the district court explicitly characterized both
   statutes as criminal in its opinion, and the plaintiffs don’t challenge that characterization
   in their opening brief. Thus, we won’t address whether § 18-12-112 is a purely criminal
   statute or, if not, whether its quasi-civil character might impact the appropriate test for the
   plaintiffs’ standing. See United States v. Burns, 775 F.3d 1221, 1223 n.2 (10th Cir. 2014)
   (explaining arguments made for first time at oral argument are waived).

                                                 11
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 12
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 12



   their opening brief that the district court erred in concluding that licensed firearms dealers

   Burrud Arms Inc. and Rocky Mountain Shooters Supply lacked standing to challenge the

   statutes because both businesses (1) suffered economic injuries based on the LCM ban;

   and (2) sought to challenge the statutes on behalf of third parties seeking their services.

   But the plaintiffs don’t even acknowledge that the district court adopted the credible-

   threat-of-prosecution test, let alone address the obvious tension between that decision and

   the non-binding authority they cite, without elaboration, to support their suggestion that

   economic injuries might instead suffice.

          The only binding authority the plaintiffs cite in support of their economic-injury

   argument is Planned Parenthood of Central Missouri v. Danforth, 428 U.S. 52 (1976).

   According to the plaintiffs, Danforth stands for the proposition that businesses providing

   “constitutionally related services have standing in their own right to challenge [criminal]

   statutes that injure them,” even if their injuries are solely economic. Nonprft. Br. at 48 &

   n.29. But Danforth lends no support to the plaintiffs’ broad assertion of standing here.

   There, the Court concluded the physician-appellants had standing because they faced

   criminal prosecution if they performed abortions in violation of the challenged statute,

   see Danforth, 428 U.S. at 59, 62, not because the challenged statute had an adverse

   economic impact on their businesses, as the plaintiffs suggest.

          In addition to Danforth, the plaintiffs also cite Ezell v. City of Chicago, 651 F.3d

   684, 696 (7th Cir. 2011) (concluding “supplier of firing-range facilities” had standing to

   challenge firing-range ban because (1) supplier was harmed by ban; and (2) supplier was

   permitted to advocate for rights of those seeking its services) and National Rifle Ass’n of

                                                12
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 13
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 13



   America v. Magaw, 132 F.3d 272, 290 (6th Cir. 1997) (“When a statute creates

   substantial economic burdens and compliance is coerced by the threat of enforcement, it

   is not necessary to determine whether a plaintiff subject to the regulation has sufficiently

   alleged an intention to refuse to comply.”). While compelling arguments may exist as to

   why we should adopt a similar approach here, the plaintiffs fail to make those arguments

   in their opening brief, and we decline to make them on their behalf. United States v.

   Apperson, 441 F.3d 1162, 1195 (10th Cir. 2006) (refusing to consider argument because

   appellant “fail[ed] to offer any detailed explanation of how the district court erred”).

   Accordingly, we leave for another day the question of whether an economic injury,

   standing alone, can constitute an injury-in-fact for purposes of a pre-enforcement

   challenge to a criminal statute. See Raley, 642 F.3d at 1275 (declining to answer complex

   standing question without adequate briefing).

             Thus, in analyzing the plaintiffs’ standing to challenge § 18-12-302 and § 18-12-

   112 under the Second and Fourteenth Amendments, we ask only whether the plaintiffs

   satisfied the test the district court adopted—i.e., whether they proved they intended to

   engage in conduct that violated the statutes and faced a credible threat of prosecution as a

   result.

   II.  The plaintiffs failed to establish standing to challenge § 18-12-112 under the
   Second and Fourteenth Amendments.

             The plaintiffs first raised a Second Amendment challenge to § 18-12-112, which

   with some exceptions requires background checks for private firearm transfers exceeding

   72 hours. According to the final pretrial order, 20 plaintiffs asserted a Second-


                                                 13
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 14
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 14



   Amendment challenge to § 18-12-112: Colorado Outfitters Association; Colorado Farm

   Bureau; National Shooting Sports Foundation; Magpul Industries; Colorado Youth

   Outdoors; USA Liberty Arms; Outdoor Buddies, Inc.; Women for Concealed Carry;

   Colorado State Shooting Association; Hamilton Family Enterprises, Inc.; David

   Strumillo; David Bayne; Dylan Harrell; Rocky Mountain Shooters Supply; 2nd

   Amendment Gunsmith & Shooter Supply, LLC; Burrud Arms Inc.; Green Mountain

   Guns; Jerry’s Outdoor Sports; Specialty Sports & Supply; and Goods for the Woods.

          The district court found the plaintiffs presented no evidence at trial regarding the

   standing of National Shooting Sports Foundation, USA Liberty Arms, 2nd Amendment

   Gunsmith & Shooter Supply, Green Mountain Guns, Jerry’s Outdoor Sports, Specialty

   Sports & Supply, Goods for the Woods, or David Strumillo. The plaintiffs do not

   challenge this finding on appeal. Nor do they challenge the district court’s ruling that

   Bayne, Harrell, Hamilton Family Enterprises, and Magpul Industries lacked standing to

   challenge § 18-12-112; or its ruling that Outdoor Buddies, Colorado Farm Bureau,

   Colorado Outfitters Association, Women for Concealed Carry, Colorado Youth

   Outdoors, and Colorado State Shooting Association lacked associational standing to

   challenge § 18-12-112 on behalf of their members;8 or its finding that Outdoor Buddies


          8
             In the “Statement of the Case” section of their opening brief, the plaintiffs assert
   the district court erred in finding that Colorado Farm Bureau, Women for Concealed
   Carry, and Colorado Youth Outdoors failed to present evidence regarding “firearm
   acquisition by [their] members.” Nonprft. Br. at 13 n.9. But the plaintiffs don’t renew that
   assertion in the “Argument” section of their brief. Nor do they explicitly challenge the
   district court’s finding that the three organizations lacked associational standing to
   challenge § 18-12-112. A mere suggestion that the district court erred—made solely in

                                                14
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 15
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 15



   didn’t demonstrate that either it or its members faced prosecution under § 18-12-112.

   Thus, the plaintiffs have waived any challenge to those rulings for purposes of appeal.

   Likewise, by arguing in their opening brief that Burrud Arms Inc. and Rocky Mountain

   Shooters Supply have standing only by virtue of their economic injuries, the plaintiffs

   have waived any argument that either business intended to violate § 18-12-112 and faced

   a credible threat of prosecution as a result.

          That leaves us to determine whether five plaintiffs—Colorado Farm Bureau,

   Colorado Outfitters Association, Women for Concealed Carry, Colorado Youth

   Outdoors, and Colorado State Shooting Association—had standing in their own right to

   challenge § 18-12-112. But the district court didn’t address Colorado Farm Bureau’s or

   Colorado Outfitters Association’s standing to challenge § 18-12-112 in their own right

   (perhaps because it believed the organizations were only challenging the statute on behalf

   of their members), and the plaintiffs neither argue this was error nor cite any evidence

   suggesting the organizations intended to violate § 18-12-112. Thus, we will only consider

   the evidence as it relates to Women for Concealed Carry, Colorado Youth Outdoors, and

   Colorado State Shooting Association and their standing to challenge § 18-12-112 in their



   the “Statement of the Case” section of an appellant’s brief and not subsequently
   developed in the “Argument” section—is insufficient to adequately brief an issue for
   consideration on appeal. See Fed. R. App. P. 28(a) (explaining appellant’s brief must
   contain both a statement of the case and appellant’s argument—“under appropriate
   headings”—and that argument must include “appellant’s contentions and the reasons for
   them”); Wilburn v. Mid-S. Health Dev., Inc., 343 F.3d 1274, 1281 (10th Cir. 2003)
   (explaining we won’t “consider issues that are raised on appeal but not adequately
   addressed”).

                                                   15
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 16
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 16



   own right under the credible-threat-of-prosecution test.9

          At oral argument, we pressed the plaintiffs’ counsel to identify the single plaintiff

   who had the strongest standing to challenge § 18-12-112 under the credible-threat-of-

   prosecution test. In response, counsel identified Robert Hewson. Of course, Hewson isn’t

   a plaintiff in this action. But he did testify on behalf of Colorado Youth Outdoors. And

   because the plaintiffs identify his as the testimony most likely to establish standing, we

   begin our sua sponte review of the record there.

          Hewson, who is Colorado Youth Outdoors’ executive director, testified at trial to

   the burden that complying with § 18-12-112 has imposed on his organization. For

   instance, Hewson explained that before § 18-12-112 became effective, Colorado Youth

   Outdoors could borrow firearms for use in its annual fundraiser. Since § 18-12-112’s

   effective date, however, those loans have ceased.

          Perhaps this testimony would weigh in the plaintiffs’ favor if we were resolving

   the merits of their claim. See, e.g., United States v. Reese, 627 F.3d 792, 800 (10th Cir.


          9
            The plaintiffs don’t argue in their opening brief that the evidence they presented
   below was sufficient to show these three organizations satisfied the credible-threat-of-
   prosecution test. Nevertheless, we decline to treat this particular argument as waived
   because the district court ruled in the plaintiffs’ favor on this point: it “assume[d]” that at
   least one of these three organizations had standing to challenge § 18-12-112 under the
   credible-threat-of-prosecution test. App. at 1768. Although we question whether the
   plaintiffs are entitled to rely on the district court’s jurisdictional assumptions given Steel
   Co.’s clear mandate against exercising hypothetical jurisdiction, see 523 U.S. at 94, we
   also recognize that we don’t routinely require appellants to shore up on appeal any
   victories they managed to obtain below. Accordingly, we think it appropriate to sua
   sponte review the record for evidence that might allow us to affirm the district court’s
   ruling that at least one of these organizations had standing to challenge § 18-12-112
   under the credible-threat-of-prosecution test.

                                                 16
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 17
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 17



   2010) (adopting “two-pronged approach to Second Amendment challenges” that asks, in

   part, “whether the challenged law imposes a burden on conduct falling within the scope

   of the Second Amendment’s guarantee” (quoting United States v. Marzzarella, 614 F.3d

   85, 89 (3d Cir. 2010))). But when it comes to standing, such testimony hurts, rather than

   helps, the plaintiffs’ case: if § 18-12-112’s background-check requirement has burdened

   or will burden Colorado Youth Outdoors, that burden is the result of the organization’s

   compliance with § 18-12-112. And the plaintiffs can’t satisfy the credible-threat-of-

   prosecution test by relying on evidence of their compliance with the challenged statute.

   See Susan B. Anthony List, 134 S. Ct. at 2342.

            In addition to testifying about the burdens of compliance, however, Hewson also

   testified that Colorado Youth Outdoors engaged in conduct on two previous occasions

   that may have violated § 18-12-112. Yet Hewson indicated the district attorney was

   aware of—and had explicitly declined to prosecute—one of those potential violations.

   And such an “affirmative assurance[] of non-prosecution from a governmental actor

   responsible for enforcing the challenged statute prevents a ‘threat’ of prosecution from

   maturing into a ‘credible’ one.” Bronson v. Swensen, 500 F.3d 1099, 1108 (10th Cir.

   2007).

            As for the other potential violation, the plaintiffs offered no evidence suggesting

   Colorado Youth Outdoors had “ever been threatened with prosecution, that a prosecution

   [was] likely, or even that a prosecution [was] remotely possible” based on that previous

   conduct. Babbitt, 442 U.S. at 298-99 (quoting Younger v. Harris, 401 U.S. 37, 42

   (1971)). Thus, this incident can’t form the basis of “a dispute susceptible to resolution by

                                                 17
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 18
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 18



   a federal court.” Id. at 299. See also Winsness v. Yocom, 433 F.3d 727, 732 (10th Cir.

   2006) (“The mere presence on the statute books of an unconstitutional statute, in the

   absence of enforcement or credible threat of enforcement, does not entitle anyone to

   sue . . . .”).

           Finally, as the plaintiffs pointed out at oral argument, the district court advised

   Hewson during cross-examination that some of the questions posed to him might elicit

   incriminating responses about Colorado Youth Outdoors’ firearm transfers. But Hewson

   subsequently invoked his Fifth Amendment right and refused to answer questions about

   those transfers. And we know of no authority suggesting an individual can prove standing

   by refusing to testify about the very events that might confer it. Thus, we conclude the

   plaintiffs failed to prove Colorado Youth Outdoors had standing to challenge § 18-12-

   112.

           Arguably, we could stop there. The plaintiffs suggested at oral argument that if

   anyone had standing to challenge § 18-12-112, it was Hewson (and by extension

   Colorado Youth Outdoors). And because we conclude the plaintiffs failed to establish

   Colorado Youth Outdoors had standing, the plaintiffs’ statement at oral argument

   amounts to an implicit concession that neither Women for Concealed Carry nor Colorado

   State Shooting Association had standing either.

           Nevertheless, in an abundance of caution, we have reviewed the parties’

   stipulations and the testimony of the witnesses who appeared on behalf of these two

   organizations as well, and we see no evidence indicating they had even a general intent to

   engage in conduct that might violate § 18-12-112, let alone any specific plans to do so.

                                                 18
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 19
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 19



   On the contrary, these witnesses—like Hewson—testified to the inconveniences their

   organizations have encountered or might encounter in complying with § 18-12-112. For

   instance, Colorado State Shooting Association’s vice president stated that concerns about

   § 18-12-112 led the organization to suspend its rifle-loan program. And a member of

   Women for Concealed Carry testified regarding the organization’s concern that § 18-12-

   112 would make it more difficult to loan firearms to women seeking to protect

   themselves from domestic abusers.

          Absent any testimony indicating that Colorado Youth Outdoors, Women for

   Concealed Carry, or Colorado State Shooting Association intended to engage in conduct

   that might violate § 18-12-112, we conclude the plaintiffs failed to establish any of these

   organizations had standing to challenge § 18-12-112 in their own right. Compare Susan

   B. Anthony List, 134 S. Ct. at 2338, 2343 (holding plaintiffs had standing to challenge

   statute that prohibited making certain statements during course of political campaign

   because plaintiffs “pleaded specific statements they intend to make in future election

   cycles”), with Dias v. City & Cty. of Denver, 567 F.3d 1169, 1176-77 (10th Cir. 2009)

   (finding plaintiffs lacked standing to seek prospective relief from Denver’s pit bull

   ordinance because they no longer lived in Denver and expressed no intent to return there

   with their dogs). Accordingly, we vacate the district court’s order entering judgment on

   the plaintiffs’ claim challenging the constitutionality of § 18-12-112 under the Second

   and Fourteenth Amendments, and remand with directions to dismiss that claim for lack of

   jurisdiction. See Wyodak Res. Dev. Corp. v. United States, 637 F.3d 1127, 1136 (10th

   Cir. 2011).

                                               19
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 20
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 20



   III.   The plaintiffs failed to establish standing to challenge § 18-12-302 under the
          Second and Fourteenth Amendments.

          The plaintiffs asserted two separate constitutional challenges to § 18-12-302. As

   relevant here, § 18-12-302 generally prohibits the possession of LCMs, but doesn’t apply

   to (1) state or federal employees who carry firearms in the course of their official duties,

   or (2) individuals who possess LCMs they owned as of July 1, 2013, as long as they

   maintain continuous possession of the LCMs thereafter. First, the plaintiffs contended

   § 18-12-302 violates the Second Amendment. Second, they argued § 18-12-302’s

   grandfather clause is unconstitutionally vague under the Fourteenth Amendment.

          In addressing the plaintiffs’ standing to assert these claims, the district court again

   applied the credible-threat-of-prosecution test. More specifically, it asked whether any of

   the plaintiffs (1) possessed an LCM acquired after July 1, 2013; intended to acquire an

   LCM after July 1, 2013; or intended to transfer or sell an LCM after July 1, 2013; and (2)

   faced a credible threat of prosecution for such conduct. “[W]ith the benefit of some

   generous assumptions,” the district court concluded Women for Concealed Carry had

   associational standing to challenge § 18-12-302 under the Second Amendment. App. at

   1762. And “for purposes of completeness of the [c]ourt’s decision,” the district court

   assumed Women for Concealed Carry had associational standing to pursue the vagueness

   challenge as well. Id. at n.11.

          For the reasons discussed above, the district court erred in making assumptions

   about Women for Concealed Carry’s standing in order to reach the merits of the

   plaintiffs’ claims. See Steel Co., 523 U.S. at 94. Thus, we turn once more to the


                                                20
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 21
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 21



   preliminary task of determining whether the district court had jurisdiction to consider

   those claims in the first place. In doing so, however, we ask only whether the plaintiffs

   established their standing under the test the district court articulated and applied below—

   i.e., whether any plaintiffs (1) possessed an LCM acquired after July 1, 2013; intended to

   acquire an LCM after July 1, 2013; or intended to transfer or sell an LCM after July 1,

   2013; and (2) faced a credible threat of prosecution for such conduct. As discussed above,

   the plaintiffs have waived any argument that the district court should have applied a

   different test by failing to adequately brief that argument on appeal. See Adler, 144 F.3d

   at 679.

             All of the plaintiffs challenged § 18-12-302 under the Second Amendment, and 21

   of them asserted the statute was unconstitutionally vague under the Fourteenth

   Amendment. But we need not consider whether National Shooting Sports Foundation;

   USA Liberty Arms; 2nd Amendment Gunsmith & Shooter Supply, LLC; Green

   Mountain Guns; Jerry’s Outdoor Sports; Specialty Sports and Supply; Goods for the

   Woods; David Strumillo; Ken Putnam; James Faull; Larry Kuntz; Fred Jobe; Donald

   Krueger; Dave Stong; Peter Gonzalez; Sue Kurtz; or Douglas Darr had standing to bring

   these claims because the district court determined that the plaintiffs presented no

   evidence at trial regarding their standing, and the plaintiffs do not challenge that finding

   on appeal. Nor do the plaintiffs challenge the district court’s ruling that Bayne, Harrell,

   and Cooke lacked standing to challenge § 18-12-302. That leaves Colorado Outfitters

   Association, Colorado Farm Bureau, Magpul Industries, Colorado Youth Outdoors,

   Outdoor Buddies, Women for Concealed Carry, Colorado State Shooting Association,

                                                21
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 22
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 22



   Hamilton Family Enterprises, Rocky Mountain Shooters Supply, and Burrud Arms Inc.

   as plaintiffs that might provide standing to challenge § 18-12-302.

          But of these plaintiffs, the district court addressed only Women for Concealed

   Carry’s associational standing to challenge § 18-12-302 on behalf of Elisa Dahlberg. And

   the plaintiffs do not challenge on appeal the district court’s failure to address the

   remaining plaintiffs’ standing below.10 Thus, we ask only whether the plaintiffs presented

   sufficient evidence to prove Women for Concealed Carry had associational standing to

   challenge § 18-12-302 on Dahlberg’s behalf.11 See Adler, 144 F.3d at 679 (“Arguments

   inadequately briefed in the opening brief are waived.”).

          To establish that Women for Concealed Carry had associational standing, the

   plaintiffs had to prove, inter alia, that its members “would otherwise have standing to sue

   in their own right.” S. Utah Wilderness All. v. Office of Surface Mining Reclamation &

   Enf’t, 620 F.3d 1227, 1246-47 (10th Cir. 2010) (Ebel, J., dissenting) (quoting Colo.

   Taxpayers Union, Inc. v. Romer, 963 F.2d 1394, 1397-98 (10th Cir. 1992)). And in order

   to make that showing, the plaintiffs had to prove those members satisfied “the injury,

   causation, and redressability requirements derived from Article III.” Id. at 1247. Under

   the test the district court articulated below, that means the plaintiffs had to prove, in part,


          10
             The plaintiffs do assert the district court erred in failing to find that Burrud
   Arms Inc. and Rocky Mountain Shooter’s Supply had standing based on their economic
   injuries. For the reasons discussed above, we decline to address that argument.
          11
            The plaintiffs don’t suggest Women for Concealed Carry had associational
   standing to challenge § 18-12-302 on behalf of any of the other three members of the
   organization. Thus, we decline to consider that possibility. See Raley, 642 F.3d at 1275.

                                                 22
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 23
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 23



   that at least one member of Women for Concealed Carry (1) possessed an LCM acquired

   after July 1, 2013; intended to acquire an LCM after July 1, 2013; or intended to transfer

   or sell an LCM after July 1, 2013; and (2) faced a credible threat of prosecution as a

   result.

             We have reviewed Dahlberg’s testimony, and see no evidence that would support

   such a finding. Dahlberg testified she owns two 30-round magazines and three 17-round

   magazines. Because Dahlberg purchased the magazines before July 1, 2013, however,

   she acknowledged § 18-12-302 doesn’t bar her from possessing them as long as they

   remain in her “continuous possession.” See § 18-12-302(2)(a). Nevertheless, Dahlberg

   insisted § 18-12-302 impacts her because “[e]ventually,” her LCMs will wear out and

   because it would be “possible” to lose her LCMs (or lose continuous possession of them)

   in the meantime. App. at 2218 (emphasis added).

             Such “some day” speculations are insufficient to establish an injury-in-fact for

   purposes of Article III standing. Lujan, 504 U.S. at 564. Because Dahlberg expressed no

   concrete plans to engage in conduct that had any potential to violate § 18-12-302, she

   failed to demonstrate an imminent injury for purposes of mounting a pre-enforcement

   challenge to that statute. See Dias, 567 F.3d at 1176-77. Thus, the plaintiffs failed to

   prove Dahlberg had standing to challenge § 18-12-302 in her own right, and consequently

   failed to prove Women for Concealed Carry had standing to challenge § 18-12-302 on

   her behalf. See S. Utah Wilderness All., 620 F.3d at 1246-47. Accordingly, we have no

   choice to but to vacate the district court’s order entering judgment on the plaintiffs’

   claims challenging the constitutionality of § 18-12-302, and remand to the district court

                                                  23
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 24
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 24



   with directions to dismiss those claims for lack of jurisdiction.

   IV.    The plaintiffs failed to establish standing to challenge § 18-12-302 and § 18-
          12-112 under the ADA.

          In addition to asserting constitutional challenges to § 18-12-302 and § 18-12-112,

   four plaintiffs also claimed both statutes violate the ADA’s prohibition against

   discriminating on the basis of disability, see 42 U.S.C. § 12132: David Bayne; Dylan

   Harrell; Outdoor Buddies; and Colorado State Shooting Association, on behalf of its

   disabled members.

          It appears the district court failed to separately analyze the plaintiffs’ standing to

   challenge the statutes under the ADA, relying instead on its finding that at least one

   plaintiff had standing to assert each constitutional claim. “But standing is not dispensed

   in gross.” Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996). “Rather, ‘a plaintiff must

   demonstrate standing for each claim he [or she] seeks to press . . . .” Davis v. Fed.

   Election Comm’n, 554 U.S. 724, 734 (2008) (quoting DaimlerChrysler Corp. v. Cuno,

   547 U.S. 332, 352 (2006)). Thus, we must determine whether the plaintiffs independently

   established their standing to challenge § 18-12-302 and § 18-12-112 under the ADA.

          The plaintiffs purport to address this issue in their opening brief, first by asserting

   that Outdoor Buddies proved it had associational standing to challenge the statutes on

   behalf of its members. But according to the final pretrial order, Outdoor Buddies didn’t

   bring the ADA claim on behalf of its members. Thus, we need not consider whether it

   had standing to do so.

          Next, the plaintiffs argue that Bayne and Harrell had standing to challenge the

                                                 24
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 25
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 25



   statutes because they are qualified individuals with disabilities under 42 U.S.C.

   § 12131(2). While this assertion—assuming it’s true—might provide Bayne and Harrell

   with statutory standing to bring an ADA claim, it doesn’t automatically give them

   constitutional standing to do so. See Carolina Cas. Ins. Co. v. Pinnacol Assurance, 425

   F.3d 921, 926 (10th Cir. 2005) (distinguishing between statutory and constitutional

   standing). Instead, “a disabled individual claiming discrimination” under the ADA must

   still “satisfy the case or controversy requirement of Article III” to invoke federal

   jurisdiction. Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011).

   See also Tandy v. City of Wichita, 380 F.3d 1277, 1288 (10th Cir. 2004) (concluding

   disabled plaintiff failed to establish Article III standing to seek prospective relief under

   ADA because, unlike other plaintiffs, he “submitted no affidavit stating an intent to

   utilize” challenged bus system).

          In asserting Harrell and Bayne had standing to challenge § 18-12-302 and § 18-12-

   112 under the ADA, the plaintiffs don’t argue they satisfied the elements of constitutional

   standing. And we decline to make that argument for them. See Raley, 642 F.3d at 1275.

   Similarly, the plaintiffs don’t argue on appeal that Colorado State Shooting Association

   had standing—constitutional or otherwise—to challenge the statutes under the ADA.

   Thus, the plaintiffs have waived that argument as well. See id.

          Finally, the plaintiffs assert Outdoor Buddies had constitutional standing in its

   own right to challenge the statutes under the ADA. In support, they argue they proved

   that § 18-12-112 “has needlessly harmed Outdoor Buddies’ program of loaning



                                                 25
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 26
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 26



   specialized firearms to persons with disabilities for use in guided hunting trips.”12

   Nonprft. Br. at 52.

          First, to the extent the plaintiffs fail to assert Outdoor Buddies suffered any injury

   under § 18-12-302—rather than § 18-12-112—they’ve waived that argument. See Raley,

   642 F.3d at 1275. Second, in evaluating Outdoor Buddies’ standing to challenge § 18-12-

   112 under the Second Amendment, the district court found its temporary transfers were

   largely exempt under § 18-12-112(6)(e)(III), which allows transfers that occur “[w]hile

   hunting, fishing, target shooting, or trapping.” The plaintiffs do not challenge that

   finding on appeal. Nor do they assert the district court erred in finding that (1) while it

   might be convenient for disabled hunters to keep the modified firearms for more than 72

   hours before or after a guided hunting trip, it’s not necessary for them to do so; and (2)

   the plaintiffs presented no evidence suggesting disabled hunters would decline to

   participate in Outdoor Buddies’ guided hunting trips if they couldn’t retain the firearms

   for more than 72 hours before or after a hunt. These unchallenged findings severely

   undermine the plaintiffs’ assertion that § 18-12-112 harms Outdoor Buddies’ loan

   program.

          In any event, the plaintiffs cite only one record page (page 2240 of the Appendix)

          12
            We assume for the sake of argument that Outdoor Buddies may assert a pre-
   enforcement challenge to a criminal statute under the ADA; and that interfering with
   Outdoor Buddies’ loan program, standing alone, would satisfy Article III’s injury
   requirement for purposes of that ADA claim. Because the plaintiffs don’t establish
   standing even with the benefit of those assumptions, we need not resolve whether a
   disabled plaintiff can assert a pre-enforcement challenge to a criminal statute under the
   ADA, or whether one who does so must establish standing under the credible-threat-of-
   prosecution test.

                                                 26
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 27
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 27



   to support their assertion of harm. There, Harrell—Outdoor Buddies’ secretary—testified

   in hypothetical terms about the possibility that a person “could potentially” need to

   borrow a firearm the day before a hunt or keep it until the day after, and noted that

   obtaining a background check under those circumstances “could” be difficult. App. at

   2240-41.

          The mere possibility that “‘some day’” a member of Outdoor Buddies might wish

   to obtain or retain a firearm before or after a hunt and that he or she might then

   experience difficulties obtaining the requisite background check is insufficient to

   establish an imminent injury for purposes of Article III standing. Lujan, 504 U.S. at 564

   (concluding individuals’ “‘some day’ intentions” to travel to foreign lands where they

   would suffer injury was insufficient to establish an imminent injury for purposes of

   Article III standing). Thus, we vacate the district court’s order entering judgment for the

   defendant on the plaintiffs’ ADA claim and remand to the district court with directions to

   dismiss that claim for lack of jurisdiction.

   V.     The dismissed sheriffs failed to establish standing to challenge either statute.

          Based on the foregoing analysis, we conclude the evidence at trial was insufficient

   to prove any of the plaintiffs who proceeded to trial had standing to challenge § 18-12-

   302 or § 18-12-112. But that doesn’t end our inquiry.

          Before trial, the defendant moved to dismiss the official capacity claims of 55

   Colorado sheriffs under the political subdivision doctrine. The district court agreed the

   political subdivision doctrine barred the sheriffs’ official capacity claim, concluded the

   sheriffs were asserting only official capacity claims, and entered an order dismissing all

                                                  27
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 28
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 28



   the sheriffs’ claims. It then denied the sheriffs’ motion to alter or amend that order. Later,

   the district court allowed 11 sheriffs with definite retirement dates to reenter the case to

   challenge § 18-12-302 in their individual capacities because, upon their retirement, § 18-

   12-302’s law-enforcement exception would no longer apply to them.

          On appeal, the plaintiffs argue the district court erred in dismissing the sheriffs’

   official capacity claims under the political subdivision doctrine. In addition, they argue

   the district court erred in failing to recognize the sheriffs asserted individual claims all

   along. Thus, the plaintiffs insist, the district court erred in refusing to alter or amend the

   order dismissing all of the sheriffs’ claims.

          We need not examine the merits of these arguments because we conclude the

   dismissed sheriffs failed to establish they had constitutional standing in any capacity to

   challenge § 18-12-302 or § 18-12-112. Thus, even assuming the district court erred in

   applying the political subdivision doctrine to the sheriffs’ claims or in failing to recognize

   they were asserting individual claims as well as official-capacity claims, those errors

   were harmless.13

          As previously discussed, the district court ruled that to establish standing to

   challenge § 18-12-302 and § 18-12-112, the plaintiffs had to satisfy the credible-threat-

   of-prosecution test. And, as previously discussed, the plaintiffs do not directly challenge

          13
            Citing United States v. Olano, 507 U.S. 725 (1993), the plaintiffs insist the
   defendant bears the burden of proving any errors in the district court’s standing analysis
   were harmless. But Olano is a criminal case. In civil cases such as this one, the party
   asserting an error generally bears the burden of demonstrating it requires reversal. See
   Shinseki v. Sanders, 556 U.S. 396, 409-11 (2009) (citing Olano and distinguishing
   between civil and criminal cases for purposes of harmless-error inquiry).

                                                   28
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 29
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 29



   that decision on appeal. Thus, to establish the sheriffs whose claims the district court

   dismissed had standing to challenge § 18-12-302 and § 18-12-112, the plaintiffs must

   demonstrate they alleged those sheriffs (1) had “an intention to engage in a course of

   conduct arguably affected with a constitutional interest, but proscribed by [the

   challenged] statute,” and (2) that “there exist[ed] a credible threat of prosecution

   thereunder.” Susan B. Anthony List, 134 S. Ct. at 2342 (quoting Babbitt, 442 U.S. at 298).

          The plaintiffs fail to satisfy this test on appeal. While they assert § 18-12-112

   technically “criminalizes” some of the sheriffs’ job duties—such as transferring a firearm

   to a crime lab for investigation—they concede such acts won’t “normally be prosecution

   priorities.” Shrf. Br. at 60-61. Given the plaintiffs’ concession, we find any threat of

   prosecution based on the sheriffs’ performance of their official job duties to be purely

   speculative. See Babbitt, 442 U.S. at 298 (explaining that “persons having no fears of

   state prosecution except those that are imaginary or speculative, are not to be accepted as

   appropriate plaintiffs” (quoting Younger, 401 U.S. at 42)). And while the plaintiffs also

   argue that when a sheriff retires, his or her possession of any LCMs purchased after July

   1, 2013, will be “criminalized” under § 18-12-302, they don’t suggest that (1) any sheriff

   alleged an intent to acquire an LCM after July 1, 2013, let alone an intent to keep that

   LCM upon retirement; or (2) that a particular sheriff faced a credible threat of

   prosecution as a result.14


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             The plaintiffs also suggest the sheriffs faced a credible threat of prosecution
   under § 18-12-303(1), which requires that LCMs “manufactured in Colorado on or after
   July 1, 2013,” to “include a permanent stamp or marking indicating that the [LCM] was

                                                29
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 30
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 30



          Moreover, we have reviewed the Second Amended Complaint and we find no

   allegations there that would satisfy the credible-threat-of-prosecution test. Thus, even

   assuming the district court erred in ruling the political subdivision doctrine barred the

   sheriffs’ official capacity claims or in construing their claims as official rather than

   individual in nature, those errors were harmless; the district court was required to dismiss

   the sheriffs’ claims because the sheriffs failed to establish they had constitutional

   standing to challenge § 18-12-302 and § 18-12-112. We therefore affirm the district

   court’s order dismissing all claims asserted by the sheriffs in the Second Amended

   Complaint and its denial of the plaintiffs’ motion to alter or amend that order. See

   Richison v. Ernest Grp., Inc., 634 F.3d 1123, 1130 (10th Cir. 2011) (noting “we may

   affirm on any basis supported by the record, even if it requires ruling on arguments not

   reached by the district court or even presented to us on appeal”).

                                           CONCLUSION

          Because the plaintiffs failed to carry their burden of establishing Article III

   standing, the district court lacked jurisdiction to consider their claims. We therefore

   manufactured or assembled after July 1, 2013.” Shrf. Br. at 63-64, 68. According to the
   plaintiffs, some sheriffs violate this provision by “adding a one or two-round extender to
   a 15[-]round magazine, thus ‘manufacturing’ a magazine which [sic] can accept more
   than 15 rounds.” Shrf. Br. at 64. Even assuming using an extender would constitute
   manufacturing for purposes of the statute, the plaintiffs don’t assert they raised this
   argument for standing below, let alone “cite the precise reference in the record where the
   issue was raised and ruled on.” 10th Cir. R. 28.2(C)(2). Thus, we would typically review
   the argument only for plain error. See United States v. Barber, 39 F.3d 285, 287 (10th
   Cir. 1994). But the plaintiffs make no effort to satisfy our plain-error test, which “marks
   the end of the road” for this argument on appeal. Richison v. Ernest Grp., Inc., 634 F.3d
   1123, 1131 (10th Cir. 2011).


                                                 30
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 31
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 31



   affirm the district court’s order dismissing the sheriffs’ claims and its denial of the

   subsequent motion to alter or amend that order; vacate the district court’s order granting

   judgment in favor of the defendant; remand with directions to dismiss the action for lack

   of jurisdiction; and dismiss the parties’ pending motions as moot.




                                                 31
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 32
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 32



                                       APPENDIX A


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                                             32
Case No. 1:13-cv-01300-MSK-MJW Document 189-1 filed 03/22/16 USDC Colorado pg 33
                                      of 33
Appellate Case: 14-1290 Document: 01019590609 Date Filed: 03/22/2016 Page: 33



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                                           33
